
Appeal by the People from an order of the County Court of Kings County insofar as it dismisses count 1 of indictment 1951/1947. Order, insofar as appealed from, reversed on the law and the motion to dismiss said count denied. This count charges a conspiracy between respondent (a licensed agent of a professional bondsman), one Paul (another licensed agent), and one Gil, an unlicensed solicitor of bail bonds, to violate section 331 of the Insurance Law. It was error to dismiss the count for the reasons stated in People v. Rabinowitz (ante, p. 793), decided herewith. Nolan, P. J., Carswell, Johnston, Adel and Wenzel, JJ., concur. [196 Misc. 304.]
